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ROBERT BONDS (PEEPLES},
Plaintiff,

vs. No. 04-2879-D/P

SHELBY COUNTY, et al.,

Defendants.

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ORDER TO COMPLY WITH PLRA
ORDER ASSESSING $150 CIVIL FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Robert E. Bonds (Peeples),1 Tennessee Department of
Correction prisoner number l€€ll§, an inmate at the Shelby County
Detention Center (“SCDC)2 in Memphis, filed a pro se complaint
pursuant to 42 U.S.C. § 1983 on October 28, 2005, in connection
with his previous confinement at the Shelby County Criminal Justice

Complex {“Jail”), where his booking number was 03135616.3 The

 

1 The plaintiff’s name on the complaint is listed as “Robert Bonds” and

as “Robert Bonds (Peeples)," whereas his name on the in forma pauperis affidavit
is listed as “Robert Peeples (Bonds).” Plaintiff has signed his complaint as
“Robert Bonds” but filed his grievances under the name “Robert Peeples.” As the
plaintiff is apparently incarcerated under the name “Robert Peeples,” the Ccurt
will use that name in this order.

2 The word “prison” is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

3 The Clerk is ORDERED to correct the docket to reflect the plaintiff's

current address.

Ti-is document entered on the docket sheet 'ln compliance
with nuze 53 and/or ?9{3) FscP on W

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Clerk shall record the defendants as Correctional Medical Services,
Inc. (“CMS”); Shelby COunty;4 Shelby County Sheriff Mark H.
Luttrell, Jr.; Health Care Administrator Tony Cooper; Dr. Stipanuk;
and Nurse Samples.
l. Assessment of Filing Fee

Under the PLRA, 28 U.S.C. § l9l§(b), all prisoners bringing a
civil action must pay the full filing fee Of $150 required by 28
U.S.C. § l9l¢](a).5 The ip fp£ma pauperis statute, 28 U.S.C. §
1915(a), merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and pay the remainder in
installments.

ln this case, plaintiff has not properly completed and
submitted both an ip fp;ma pauperis affidavit and a prison trust
fund account statement showing:

l) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and
3) the account balance when the complaint was submitted.
Pursuant to 28 U.S.C. § lQlS(b)(l), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out
this order. lt is ORDERED that within thirty (30) days of the
entry of this order the plaintiff properly complete and file both

an ip forma pauperis affidavit and a trust fund account statement

 

4 The Court construes the plaintiff’s allegations concerning the

“Shelby County Sheriff’s Department” as an attempt to assert a claim against
Shelby County.

5 Because this action was filed prior to March 7, 2005, the new $250

civil filing fee is inapplicable.

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showing the above amounts. lt is further ORDERED that the trust
fund officer at plaintiff’s prison shall calculate a partial
initial filing fee equal to twenty percent (20%) of the greater of
the average balance in or deposits to the plaintiff’s trust fund
account for the six months immediately preceding the completion of
the affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of
Court. lf the funds in plaintiff’s account are insufficient to pay
the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the
plaintiff’s account and forward them to the Clerk of Court. On
each occasion that funds are subsequently credited to plaintiff’s
account the prison official shall immediately withdraw those funds
and forward them to the Clerk of Court, until the initial partial
filing fee is paid in full.

lt is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff’s account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff’s account during the preceding month, but only when the
amount in the account exceeds $l0.00, until the entire $150.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the

prisoner's account statement showing all activity in the account

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since the last payment under this order and file it with the Clerk
along with the payment.
All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff’s name and the case number on
the first page of this order.

lf plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. lf still confined he shall provide the officials at the
new prison with a copy of this order.

lf the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff’s
prison. The Clerk is further ORDERED to forward a copy of this
order to the Director of the SCDC to ensure that the custodian of
the plaintiff’s inmate trust account complies with that portion of
the PLRA pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue despite
the immediate dismissal of this case. 28 U.S.C. § 19l5(e)(2). The
Clerk shall not issue process or serve any papers in this case.
ll. Analvsis of Plaintiff's Claims

The complaint alleges that, on or about September l, 2004, the

plaintiff had a boil in his groin. Because he was deemed to be

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contagious, he was placed in isolation. Nurse Samples provided the
plaintiff with medication to treat the boil. At the same time,
plaintiff told the nurse that he was experiencing eye irritation
and headaches which he believed could be related to high blood
pressure. Defendant Samples took the plaintiff’s blood pressure
and stated that it was normal, but she prescribed blood pressure
medication anyway.

By September 2?, 2004, after he had completed the treatment
for the boil, the plaintiff’s eye irritation and headaches
worsened. Plaintiff asked to see a specialist to determine why he
was on blood pressure medication, but his request was denied. The
plaintiff asserts that his request to discontinue the blood
pressure medication was deniedc The plaintiff also speculated that
his symptoms might be attributable to lead poisoning. Finally, the
plaintiff asserts that he has not had adequate access to the legal
room. The plaintiff seeks declaratory and injunctive relief, as
well as compensatory and punitive damages.

The Sixth Circuit has held that 42 U.S.C. § l997e(a) requires
a federal court to dismiss a complaint without prejudice whenever
a prisoner brings a prison conditions claim without demonstrating
that he has exhausted. his administrative remedies. §;ppp__yp
Toombs, 139 F.3d 1102 (Gth Cir. 1998); see Porter v. Nussle, 534
U.S. 516, 532 (2002) (“{T]he PLRA’s exhaustion requirement applies
to all inmate suits about prison life, whether they involve general
circumstances or particular episodes, and whether they allege

excessive force or some other wrong.”); Booth v. Churner, 532 U.S.

 

731 (2001) (prisoner seeking' only money damages must exhaust

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administrative remedies although damages are unavailable through
grievance system). This requirement places an affirmative burden
on prisoners of pleading particular facts demonstrating the
complete exhaustion of claims. Knuckles El v. Toombs, 215 F.3d 640,r
642 (6th Cir. 2000). To comply with the mandates of 42 U.S.C. §
1997e(a),

a prisoner must plead his claims with specificity and

show that they have been exhausted by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding

and its outcome.
ldp at 642; see also Bovd v. Corrections Corp. of Am., 380 F.Bd
989, 985-96 (6th Cir. 2004) (describing the standard for
demonstrating exhaustion when prison officials fail to respond in
a timely manner to a grievance), cert. denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who
fails to allege exhaustion adequately may not amend his complaint
to avoid a ppg sponte dismissal); Qpppy_yp_§pppp, 249 F.3d 493,r
503-04 (6th Cir. 200l) (no abuse of discretion for district court
to dismiss for failure to exhaust when plaintiffs did not submit
documents showing complete exhaustion of their claims or otherwise
demonstrate exhaustion). Furthermore, § 1997{e) requires the
prisoner to exhaust his administrative remedies before filing suit
and, therefore, he cannot exhaust these remedies during the
pendency of the action. Freeman v. Francis, 196 F.Bd 641, 645 (6th

Cir. 1999). Finally, the Sixth Circuit recently held that district

courts are required to dismiss a complaint in its entirety,

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pursuant to 42 U.S.C. § 1997e(a), that contains any unexhausted
claims. Jones Bev v. Johnson, No. 03~2331, slip op. at 4“7 (6th
Cir. Apr. 2l, 2005).6

Rather than await the disposition of this case, plaintiff
filed a second, identical complaint, Bonds v. Shelbv Countv, et
alp, No. 05-2026-D/P (W.D. Tenn. May 18, 2005). On May ll, 2005,
the Court reviewed that complaint and entered an order dismissing
plaintiff’s claims without prejudice due to his failure to exhaust

administrative remedies.7

 

6 This opinion, which will be published in the Federal Reporter, is not

yet available on WESTLAW.

j ln that case, plaintiff attached a copy of Grievance No. 096272,

filed on or about September 29, 2004 in which he complained that he asked to see
Dr. Stipanuk because he believed he was suffering from lead poisoning but two
unknown nurses apparently would not let him do so. The matter was found grievable
on October 6, 2004. The first-level response, which was dated October 15, 2004,
stated that, “according to the Medical Department, your concern has been
addressed” and invited him to submit a health-care request if he had further
symptoms. Plaintiff appealed, and his appeal was denied on the basis of a
memorandum written by defendant Cooper and dated November 16, 2004, which stated,
in pertinent partr that “[r]eview of inmate Peeple's medical records show that
he has been seen by medical providers and his immediate medical concerns have
been addressed. At present there is no indication for any additional treatment
or testing to be performed.” The Court determined that the plaintiff exhausted
his claim against defendant Stipanuk for failing to test him for lead poisoning.

Plaintiff also attached a copy of Grievance No. 096962, filed on or about
September 29, 2004 in which he alleged that defendant Summers provided him with
blood pressure medication even though he did not have high blood pressure. The
grievance also mentioned the plaintiff’s theory that he has lead poisoning. The
matter was deemed nongrievable on October 6, 2004. The explanation for that
decision was plaintiff’s failure to submit a health care request form allowing
the Medical Department the opportunity to address the issue prior to filing the
grievance. To the extent the plaintiff submitted health care request forms
after receiving that response, there is no indication that the plaintiff filed
any subsequent grievance or otherwise exhausted his administrative remedies on
these matters.

Plaintiff attached a copy of Grievance No. 096970, filed on or about
September 29, 2004, in which he complained that he was not permitted to use the
law library on September 21 and 28. The matter was deemed nongrievable on or
about October 6, 2004. The legible portion of the response to the grievance
states that the plaintiff can request legal materials and the paralegal will get
them for him. Plaintiff demonstrated that he exhausted the available

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The present complaint is more deficient that Case No. 05-2026-
D/P, however, because plaintiff only attached a copies of Grievance
No. 096962 and Grievance 096970. As previously determined, the
issues raised in Grievance No. 096962 were unexhausted. Plaintiff
did not attach a copy of Grievance No. 096272, regarding the lead
poisoning. EUrthermore, he did not fully exhaust his
administrative remedies on that claim until November 16, 2004.
Plaintiff filed this complaint on October 28, 2004. Plaintiff's
attempt to exhaust his remedies during the pendency of this action
is not permitted. Freeman, 196 F.3d at 645. Furthermore, as with
Case No. 05~2026-B/D, plaintiff has not demonstrated the exhaustion
of any claims against Luttrell and Cooper as required by Mpp;pp, 83

Fed. Appx. at 772; Thomas v. Woolum, 337 F.3d at 733-34; and Curry,

 

249 F.3d at 504, or his claim that jail officials refused to let
him discontinue the blood pressure medication.

The Sixth Circuit has stated that “[a] plaintiff who fails to
allege exhaustion of administrative remedies through
‘particularized averments’ does not state a claim on which relief

may be granted, and his complaint must be dismissed sua sponte.”

 

administrative remedies with respect to this claim.

Several other aspects of plaintiff’s complaint were not exhausted.
Plaintiff failed.to exhaust his claims concerning defendants Luttrell and Cooper,
as required by Moorer v. Price, 83 Fed. Appx. 770, 772 {Gth Cir. Dec. 9, 2003)
(plaintiff did not exhaust claim against warden because his grievance did not
identify the warden or articulate any claim against her); Thomas v. Woolum, 337
F.3d 720, 733-34 (6th Cir. 2003); and Curry, 249 F.3d at 504, Second, there was
no indication that plaintiff attempted to exhaust his claim that Jail officials
refused to let him discontinue the blood pressure medication.

Accordingly, although plaintiff had exhausted his claims concerning the

failure to test him for lead poison and access to the law library, the complaint
contained unexhausted claims and was dismissed pursuant to Jones Bey.

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Baxter, 305 F.3d at 489.8 Accordingly, the Court DlSMlSSES the
plaintiff’s complaint in its entirety, without prejudice, pursuant
to 42 U.S.C. § l997e(a).

lll. Appeal lssues

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision pp fppmp pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
fp;ma pauperis if the trial court certifies in writing that it is
not taken in good faith. The good faith standard is an objective
one. Coppedge v. United States, 369 U.S. 438, 445 (1962). Under
Brown v. Toombs, an appellate court must dismiss a complaint if a
prisoner has failed to comply with § l997e's exhaustion
requirements.

Accordingly, if a district court determines that a complaint
must be dismissed as unexhausted, the plaintiff would not yet be
able to present an issue in good faith on appeal because that
appeal would also be subject to immediate dismissal. Thus, the
same considerations that lead the Court to dismiss this case for
failure to exhaust administrative remedies compel the conclusion
that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § l915(a)(3),
that any appeal in this matter by plaintiff is not taken in good

faith and he may not proceed on appeal ip forma pauperis.

 

8 As the Sixth Circuit explained, “lf the plaintiff has exhausted his

administrative remedies, he may always refile his complaint and plead exhaustion
with sufficient detail to meet our heightened pleading requirement, assuming that
the relevant statute of limitations has not run.” ld.

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The final matter to be addressed is the assessment of a filing
fee if plaintiff appeals the dismissal of this case.9 ln McGore v.
Wrigglesworth, 114 F.3d 601, 610*11 (6th Cir. 1997), the Sixth
Circuit set out specific procedures for implementing the PLRA.
Therefore, the plaintiff is instructed that if he wishes to take
advantage of the installment procedures for paying the appellate
filing fee, he must comply with the procedures set out in Mp§ppp

and § l9l5(b).

IT is so eastern this él day cf May, 2005.

sghics s.’noNALD
UN TED sTATEs DISTRICT JUDGE

 

9 Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, T l, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:04-CV-02879 Was distributed by fax, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Robert Bonds
03135616

201 Poplar Ave.
l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

